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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No. 8:19-cv-02426-JLS-JDE                                      Date: October 22, 2021
 Title: Sammy El-Said v. BMW of North America, LLC et al

  Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

              Melissa Kunig                                          N/A
              Deputy Clerk                                      Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:

               Not Present                                      Not Present

 PROCEEDINGS: (IN CHAMBERS) Order to Show Cause re Sanctions

        The parties and their counsel are ordered to show cause by Monday, October 25
 at 5 p.m. as to why the Court should not issue sanctions for failure to comply with
 several court orders. (See Docs. 18, 23, 65.) Failure to timely and adequately respond
 will result in sanctions, up to and including monetary sanctions, dismissal and/or entry of
 default judgment.


                                                              Initials of Deputy Clerk: mku




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